Case 6:21-cv-00035-NKM Document 1 Filed 07/02/21 Page 1 of 13 Pageid#: 1




                                                                  7/2/2021




                                                       6:21CV00035
Case 6:21-cv-00035-NKM Document 1 Filed 07/02/21 Page 2 of 13 Pageid#: 2
Case 6:21-cv-00035-NKM Document 1 Filed 07/02/21 Page 3 of 13 Pageid#: 3
Case 6:21-cv-00035-NKM Document 1 Filed 07/02/21 Page 4 of 13 Pageid#: 4
Case 6:21-cv-00035-NKM Document 1 Filed 07/02/21 Page 5 of 13 Pageid#: 5
Case 6:21-cv-00035-NKM Document 1 Filed 07/02/21 Page 6 of 13 Pageid#: 6
Case 6:21-cv-00035-NKM Document 1 Filed 07/02/21 Page 7 of 13 Pageid#: 7
Case 6:21-cv-00035-NKM Document 1 Filed 07/02/21 Page 8 of 13 Pageid#: 8
Case 6:21-cv-00035-NKM Document 1 Filed 07/02/21 Page 9 of 13 Pageid#: 9
Case 6:21-cv-00035-NKM Document 1 Filed 07/02/21 Page 10 of 13 Pageid#: 10
Case 6:21-cv-00035-NKM Document 1 Filed 07/02/21 Page 11 of 13 Pageid#: 11
Case 6:21-cv-00035-NKM Document 1 Filed 07/02/21 Page 12 of 13 Pageid#: 12
Case 6:21-cv-00035-NKM Document 1 Filed 07/02/21 Page 13 of 13 Pageid#: 13
